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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

JOHN M. FRANASIAK,

Plaintiff,
y, Civil Action No.

PALISADES COLLECTION, LLC.,,

Defendant.

 

COMPLAINT AND DEMAND FOR JURY TRIAL
I. INTRODUCTION

1. This is an action for actual and statutory damages brought in response to Defendant’s
violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 ef seq. (hereinafter
"FDCPA") which prohibits debt collectors from engaging in abusive, deceptive, and
unfair practices.

II. JURISDICTION AND VENUE

2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331 and 28
U.S.C. § 1337.

3. That Plaintiffs’ cause of action under the TCPA is predicated upon the same facts and
circumstances that give rise to their federal cause of action. As such, this Court has
supplemental jurisdiction over Plaintiff's TCPA causes of action pursuant 28 U.S.C.
§1367.

4. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant transacts
business here and the conduct complained of occurred here.

II, PARTIES

5. Plaintiff, John Franasiak, is a natural person residing in the County of Erie and State of
New York and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).

6. Defendant, Palisades Collection, LLC., (hereinafter “Palisades”) is a foreign business
corporation organized and existing under the laws of the State of Delaware and is a “debt
collector” as that term is defined by 15 U.S.C. §1692a(6).
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That at all times relevant herein, each Plaintiff was and is a “person” as defined by 47
U.S.C.8153(32).

That Defendant, at all times relevant herein, owned, operated and/or controlled “customer
premises equipment” as defined by 47 U.S.C.§153(14), that originated, routed, and/or
terminated telecommunications.

That at all times relevant herein, Defendant has used the United States mail service,
telephone, telegram and other instrumentalities of interstate and intrastate commerce to
attempt to collect consumer debt allegedly owed to another.

That Defendant, at all times relevant herein, engaged in “interstate communications” as
that term is defined by 47 U.S.C.§153(22).

That Defendant, at all times relevant herein, engaged in “telecommunications” as defined
by 47 U.S.C.§153(43).

That Defendant, at all times relevant herein, used, controfled and/or operated “wire
communications” as defined by TCPA, 47 U.S.C.§153(52), that existed as
instrumentalities of interstate and intrastate commerce.

That Defendant, at all relevant times herein, used, controlled and/or operated “automatic
telephone dialing systems” as defined by TCPA, 47 U.S.C.§227(a)(1) and 47 CFR.
64,1200(f}(1).

The acts of the Defendant alleged hereinafter were performed by its employees acting
within the scope of their actual or apparent authority.

Defendant regularly attempts to collect debts alleged to be due another.
All references to “Defendant” herein shall mean the Defendant or an employee of said
Defendant.
IV. FACTUAL ALLEGATIONS
That upon information and belief, Plaintiff does not owe any debt.

That upon information and belief, Joy A. Segal owes a debt. This debt will be referred to
as the “subject debt.”

That the subject debt arose out of a transaction in which money, services or property,
which was the subject of the transaction, was primarily for personal, family and/or
household purposes. As such, said debt is a “debt” as that term is defined by 15 U.S.C.
§1692a(5).
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That Joy A. Segal does not live with John Franasiak nor do they share a telephone
number.

That upon information and belief, Defendant was employed by the original creditor or
current account holder to collect on the subject debt.

That in or about January, 2009, and continuing to the present date, Defendant began
calling Plaintiffs home telephone number multiple times per week, often multiple times
per day, in an attempt to collect on the subject debt.

That during the months of January, 2009 through August, 2009, Defendant made several
telephone calls to Plaintiff’s telephone, wherein they left an artificial and/or prerecorded
voice message requesting return of their telephone

That during one of these aforementioned calls, Plaintiff informed Defendant that Joy
Segal did not live at his residence, and asked the Defendant to stop calling. Plaintiff also
told Defendant on each of his subsequent conversations with Defendant that Joy Segal
did not live there and to stop calling his home telephone.

That despite Plaintiff informing Defendant many times that Joy Segal did not live at his
residence, and requesting that Defendant stop calling, Plaintiff has continued to receive
telephone calls and artificial/pre-recorded voice messages from Defendant

That on or about August 14, 2009, Plaintiff sent a cease and desist letter to Defendant by
certified mail.

Despite Defendant receiving said cease and desist letter, Defendant has called Plaintiff
several more times and left additional artificial/pre-recorded voice messages.

That as a result of Defendant’s acts, Plaintiff became nervous, upset, anxious, and
suffered from emotional distress.

V. COUNT ONE
(Fair Debt Collection Practices Act
and 15 U.S.C. §1692 et seq.)

Plaintiff repeats, re-alleges and incorporates by reference the allegations contained in
paragraphs | through 28 above.

The conduct of Defendant as described in this complaint violated the Fair Debt
Collection Practices Act (15 U.S.C. §1692 et seq.) as follows:

Defendant violated 15 U.S.C. §1692b(3), 15 U.S.C. §1692f, and 15 U.S.C. §1692d by
contacting Plaintiff more once without being requested they do so. Despite having Joy
Segal’s contact information, Defendant continued to call Plaintiff. The natural
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consequence of such action was to harass, oppress, and abuse the Plaintiff, in an unfair
unconscionable attempt to collect the subject debt.

Defendant violated 15 U.S.C. §1692d, 15 U.S.C. §1692d(5), and 15 U.S.C. §1692f, by
repeatedly causing Plaintiffs telephone to ring and repeatedly engaging Plaintiff in
telephone conversations. The natural consequence of such action was to harass, oppress,
and abuse the Plaintiff through an unfair and unconscionable attempt to collect the
subject debt.

That as a result of the Defendant’s FDCPA violations as alleged herein, Plaintiff became
nervous, upset, anxious and suffered from emotional distress.

VI. COUNT TWO
(Telephone Consumer Protection Act of 1991
and 47 C.F.R.64.1200, et seq.)

Plaintiff repeats, realleges and incorporates by reference the preceding and succeeding
paragraphs in this complaint as if each of them was reprinted herein below.

The Defendant at all times material and relevant hereto, unfairly, unlawfuily,
intentionally, deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227, et seq.
and 47 C.F.R.14.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)Giii) by initiating
telephone calls to Plaintiffs telephone service and/or using an artificial and/or
prerecorded voice to deliver messages without having the consent of Plaintiff to leave
such messages.

The acts and/or omissions of the Defendant at all times material and relevant hereto, as
described in this Complaint, were done unfairly, unlawfully, intentionally, deceptively
and fraudulently and absent bona fide error, lawful right, legal defense, legal justification
or legal excuse.

The acts and/or omissions of the Defendant at all times material and relevant hereto, as
described in this Complaint, were not acted or omitted pursuant to 47
C.F.R.§64.1200(f)(2).

As a causally-direct and legally proximate result of the above violations of the TCPA, the
Defendant at all times material and relevant hereto, as described in this Complaint,
caused the Plaintiff to sustain damages as a result of their innumerable telephone calls
that harassed, annoyed and abused Plaintiff, and disturbed her peace and tranquility at
home and elsewhere.

As a causally-direct and legally proximate result of the above violations of the TCPA, the
Defendant at all times material and relevant hereto, as described in this Complaint,
caused the Plaintiff to sustain damages and experience severe emotional distress.
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As a causally-direct and legally proximate result of the above violations of the TCPA, the
Defendant at all times material and relevant hereto, as described in this Complaint, is
liable to actual damages, statutory damages, treble damages, and costs and attorneys fees.

Plaintiff received multiple telephone calls from an automatic telephone dialing system
and/or an artificial and/or prerecorded voice entitling Plaintiff to Five Hundred Dollars
and No Cents ($500.00) for each artificial and/or prerecorded telephone call pursuant to
the TCPA, 47 U.S.C.§227(b)(3)(B).

The Defendant caused said telephone calls of an artificial and/or prerecorded nature to be
placed willfully and/or knowingly entitling each Plaintiff to a maximum of treble
damages, pursuant to TCPA, 47 U.S.C.§227(b)(3).

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendants

for:

Dated:

(a) Actual damages;

(b) Statutory damages pursuant to 15 U.S.C. §1692k and 47 U.S.C,§223(b)(3)(B).

(c) Treble statutory damages pursuant to 47 U.S.C. §227b(3).

(d) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k.

For such other and further relief as may be just and proper.

VI. JURY DEMAND
Please take notice that Plaintiff demands trial by jury in this action.

September 15, 2009

/s/ Kimberly T. Irving

Kenneth R. Hiller, Esq.

Kimberly T. Irving, Esq.

Law Offices of Kenneth Hiller, PLLC

Attorneys for the Plaintiff

6000 North Bailey Ave., Suite 1A

Amherst, NY 14226

(716) 564-3288

Email: khiller@kennethhiller.com
kiriving@kennethhiller.com
